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Application denied. The Court already denied another request to adjourn the
trial date because of a previously scheduled trip. This request is also
untimely, coming twenty-five days after the Court set the firm trial date.
So ordered.

Aug. 30, 2022    /s/ John G. Koeltl
New York, NY    John G. Koeltl, U.S.D.J.
